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 Counsel for the ResCap Liquidating Trust

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
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                                                              )
 In re:                                                       )   Case No. 12-12020 (MG)
                                                              )
 RESIDENTIAL CAPITAL, LLC, et al.,                            )   Chapter 11
                                                              )
                                     Debtors.                 )   Jointly Administered
                                                              )
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                          NOTICE OF CANCELLATION OF HEARING
                         SCHEDULED FOR AUGUST 3, 2023 AT 2:00 P.M.

          PLEASE TAKE NOTICE that on June 29, 2023, the ResCap Liquidating Trust,

 successor in interest to the Debtors in the above-captioned chapter 11 cases, filed the Motion of

 the ResCap Liquidating Trust for an Order Approving (i) the Abandonment of Interests in RI

 Equity Pool and (ii) Dissolution of ResCap Securities Holdings Company [ECF No. 10755] (the

 “Motion”).

          PLEASE TAKE FURTHER NOTICE that on July 24, 2023, the Court entered the

 Order Approving (i) the Abandonment of Interests in RI Equity Pool and (ii) Dissolution of

 ResCap Securities Holdings Company [Dkt. No. 10758]. Accordingly, the hearing on the

 Motion previously scheduled for August 3, 2023 at 2:00 p.m. (Prevailing Eastern Time) is

 cancelled.
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 Dated: July 24, 2023
        New York, New York
                                        KRAMER LEVIN NAFTALIS & FRANKEL LLP

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